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                                            No. 21-2655

                            UNITED STATES COURT OF APPEALS
                                                                                         FILED
                                                                                   Jun 28, 2021
                                 FOR THE SIXTH CIRCUIT                        DEBORAH S. HUNT, Clerk


 In re: RAYMOND HALL, et al.,                             )
                                                          )                 ORDER
        Petitioners.                                      )


        Before: GRIFFIN, KETHLEDGE, and MURPHY, Circuit Judges.


        Objectors to a class action settlement in the In re Flint Water Cases petition for a writ of

 mandamus, asking this court to compel the district court: “(1) to cease holding off-the-record

 substantive ex parte meetings that exclude petitioners’ counsel; (2) to order the participants at the

 March 1 and May 3 conferences to recount for the record their recollection of what transpired at

 those conferences; (3) to order settling parties to identify any other substantive unrecorded

 conferences since February 26, 2021; and (4) to refrain from continuing to prescribe or dictate

 the litigation strategy of the parties in advocating for the settlement.” Following our review of

 the petition and the underlying record, we find that responses to the petition would be helpful.

        The district court judge is INVITED to respond to the petition on or before the close of

 business on Thursday, July 1, 2021. The Class Plaintiffs, State Defendants, Liaison Counsel, and

 Attorney and Co-Lead Class Counsel Michael Pitt are ORDERED to respond to the petition on

 or before the close of business on Thursday, July 1, 2021.

                                               ENTERED BY ORDER OF THE COURT




                                               Deborah S. Hunt, Clerk
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                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
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                                                  Filed: June 28, 2021




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                      Re: Case No. 21-2655, In re: Raymond Hall, et al
                          Originating Case No. : 5:16-cv-10444

 Dear Counsel,
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    The Court issued the enclosed Order today in this case.

                                                 Sincerely yours,

                                                 s/Jill E Colyer on behalf of Ryan Orme
                                                 Case Management Specialist
                                                 Direct Dial No. 513-564-7079

 cc: Mr. Mark Cuker
     Mr. Adam Ezra Schulman
     Mr. Valdemar L. Washington

 Enclosure
